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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 22-7146                                               September Term, 2023
                                                                      1:21-cv-02241-RJL
                                                      Filed On: November 12, 2023
Peter A. Chiejina and PICCOL Nigeria Ltd.,

             Appellees

      v.

Federal Republic of Nigeria,

             Appellant

      BEFORE:       Henderson, Wilkins, and Pan, Circuit Judges

                                       ORDER

      Upon consideration of the joint notice of settlement and appellant’s motion to
dismiss appeal, it is

      ORDERED that the motion be granted and this case be dismissed.

      The Clerk is directed to issue the mandate forthwith to the district court.



                                      Per Curiam


                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Michael C. McGrail
                                                        Deputy Clerk
